Case 20-63879-sms        Doc 31     Filed 06/01/20 Entered 06/01/20 13:08:44               Desc Main
                                    Document     Page 1 of 6




   IT IS ORDERED as set forth below:



   Date: June 1, 2020
                                                         _________________________________

                                                                    Sage M. Sigler
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:
                                                        CHAPTER 11
FAITH APOSTOLIC DELIVERANCE
CHURCH, INC.,                                           CASE NO. 20-63879-sms

         Debtor.

                         ORDER AND NOTICE OF ASSIGNMENT
                       OF HEARING ON CONFIRMATION OF PLAN

       Debtor filed its Plan of Reorganization (Doc. No. 29) ("Plan") on May 27, 2020. Debtor

also filed, on May 27, 2020, an application requesting entry of an order:

   (1) scheduling the Plan confirmation hearing,

   (2) approving the form and content of Debtor’s ballot,

   (3) establishing a deadline for filing objections to the Plan, and

   (4) establishing a deadline for casting ballots to accept or reject the Plan.
(Doc. No. 30) (the “Application”).
Case 20-63879-sms        Doc 31   Filed 06/01/20 Entered 06/01/20 13:08:44            Desc Main
                                  Document     Page 2 of 6



       Therefore, it is hereby:

       ORDERED and NOTICE IS HEREBY GIVEN that:

       A. July 10, 2020 is fixed as the last day for filing, on the ballot form attached to this

           order, written acceptances or rejections of Debtor’s Plan. All ballots must be filed

           with:

                              Clerk, U.S. Bankruptcy Court
                              Room 1340
                              75 Ted Turner Drive, SW
                              Atlanta, GA 30303

and a copy mailed to Debtor’s attorney:

                              Cameron M. McCord
                              Jones & Walden, LLC
                              699 Piedmont Ave NE
                              Atlanta, GA 30308
       B. July 10, 2020 is fixed, pursuant to Interim Rule 3017.2 and General Order 30-2020,

           as the last day for filing and serving written objections to confirmation of the Plan.

           Any such written objection to confirmation of the Plan must be filed with the Clerk,

           U.S. Bankruptcy Court, 75 Ted Turner Drive, SW, Room 1340, Atlanta, GA 30303

           and a copy mailed to Debtor’s attorney, Cameron M. McCord, Jones & Walden, LLC,

           699 Piedmont Ave NE, Atlanta, GA 30308.

       C. A hearing will be held in Courtroom 1201, U.S. Courthouse, United States

           Courthouse, Richard B. Russell Federal Building, 75 Ted Turner Drive, S.W.,

           Atlanta, GA at 10:30 a.m. on July 15, 2020, to consider confirmation of the Plan, and

           to determine the value of collateral and extent to which claims are secured pursuant to

           11 U.S.C. §506(a) and Rule 3012 (the “Confirmation Hearing”). Given the current

           public health crisis, hearings may be telephonic only. Please check the “Important

           Information Regarding Court Operations During COVID-19 Outbreak” tab at the


                                                2
Case 20-63879-sms        Doc 31    Filed 06/01/20 Entered 06/01/20 13:08:44              Desc Main
                                   Document     Page 3 of 6



           top of the GANB Website (http://www.ganb.uscourts.gov/) prior to the hearing for

           instructions on whether to appear in person or by phone.

       D. Debtor’s attorney is directed to serve a copy of this Order and Notice, the Plan, and

           the Ballot, upon the U.S. Trustee and all creditors and parties in interest on or before

           June 4, 2020, and to file a certificate of such service within three days of mailing.

       At least three (3) days prior to the scheduled hearing on confirmation of the Plan,

Debtor’s attorney shall file a Summary of Voting on the Plan in form substantially similar to

Exhibit “A” attached hereto indicating all ballots cast have been tabulated by Debtor and the

resulting vote for each class designated in the Plan.

                                         END OF ORDER

Prepared and Presented By:
JONES & WALDEN, LLC,
/s/ Cameron M. McCord
Cameron M. McCord
Georgia Bar No. 143065
cmccord@joneswalden.com
699 Piedmont Ave NE
Atlanta, Georgia 30308
(404) 564-9300
Attorney for the Debtor



Distribution List

Cameron M. McCord, Jones & Walden, LLC, 699 Piedmont Ave NE, Atlanta, Georgia 30308

Office of the U.S. Trustee, 362 Richard Russell Federal Building, 75 Ted Turner Dr, SW,
Atlanta, Georgia 30303

Tamara Miles Ogier, Subchapter V Trustee, P.O. Box 1547, Decatur, Georgia, 30031

Ron C. Bingham, Adams and Reese LLP, 3424 Peachtree Road, NE, Suite 1600, Atlanta,
Georgia 30326




                                                 3
  Case 20-63879-sms      Doc 31    Filed 06/01/20 Entered 06/01/20 13:08:44        Desc Main
                                   Document     Page 4 of 6

                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:
                                                  CHAPTER 11
FAITH APOSTOLIC DELIVERANCE
CHURCH, INC.,                                     CASE NO. 20-63879-sms

         Debtor.

                         SUMMARY OF THE VOTING ON THE
                   PLAN OF REORGANIZATION FILED ON MAY 27, 2020

                                         Tabulated as of ________________, 2020

For Disclosure Statement and Confirmation Hearing to be held: _________________, 2020.


      Class Number and          Number of       Dollar Amount of           Class Vote
         Description              Votes               Votes               Impairment

                              ____Accepts      $____Accepts
                              ____ Rejects     $ ____ Rejects        ___Yes
                              ____ Percent     ____ Percent          ___No
                              ____Accepts      $____Accepts
                              ____ Rejects     $ ____ Rejects        ___Yes
                              ____ Percent     ____ Percent          ___No
                              ____Accepts      $____Accepts
                              ____ Rejects     $ ____ Rejects        ___Yes
                              ____ Percent     ____ Percent          ___No

      RESPECTFULLY SUBMITTED, this ______ day of ______________, 2020.

                                                JONES & WALDEN, LLC

                                                __________________________
                                                Cameron M. McCord
                                                Georgia Bar No. 143065
                                                699 Piedmont Ave, NE
                                                Atlanta, Georgia 30308
                                                (404) 564-9300
  Case 20-63879-sms       Doc 31    Filed 06/01/20 Entered 06/01/20 13:08:44           Desc Main
                                    Document     Page 5 of 6

                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:
                                                    CHAPTER 11
FAITH APOSTOLIC DELIVERANCE
CHURCH, INC.,                                       CASE NO. 20-63879-sms

         Debtor.

               BALLOT FOR ACCEPTING OR REJECTING DEBTOR’S PLAN

        On May 27, 2020, Debtor filed its Subchapter V Plan of Reorganization (“Plan”), and an
Application Requesting Entry of Order Establishing Certain Deadlines Pursuant to Interim Rule 3017.2
(the “Application”). The Court has approved the deadlines set forth herein. If you do not have a copy
of the Plan, you may obtain a copy from Jones & Walden, LLC, 699 Piedmont Ave NE, Atlanta,
Georgia 30308, 404-564-9300 (telephone), 404-564-9301 (facsimile). The Plan is available for review
in the Office of the Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive, SW, Room 1340, Atlanta, GA
30303 during normal business hours or online at http://ecf.ganb.uscourts.gov (registered users) or at
http://pacer.psc.uscourts.gov (unregistered users).

        You should review the Plan before you vote. You may wish to seek legal advice
concerning the Plan and your classification and treatment under the Plan. If you hold claims or
equity interests in more than one class, you may receive a ballot for each class in which you are
entitled to vote and you may use a copy of the ballot or request an additional ballot if you do not
receive one.

        If your ballot is not received by the Office of the Clerk, U.S. Bankruptcy Court, 75 Ted
Turner Drive, SW, Room 1340, Atlanta, GA 30303 on or before July 10, 2020 and such deadline
is not extended, your vote will not count as either an acceptance or rejection of the Plan.

       If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not
you vote.
  Case 20-63879-sms         Doc 31    Filed 06/01/20 Entered 06/01/20 13:08:44             Desc Main
                                      Document     Page 6 of 6

                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
IN RE:
                                                      CHAPTER 11
FAITH APOSTOLIC DELIVERANCE
CHURCH, INC.,                                         CASE NO. 20-63879-sms

         Debtor.

                      BALLOT FOR ACCEPTING OR REJECTING PLAN

               The Plan referred to in this ballot can be confirmed and thereby made binding on you if
it is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
each Class. If the required acceptances are not obtained, the Plan may nevertheless be confirmed if the
Court finds that the Plan accords fair and equitable treatment to the Class or Classes rejecting it or the
Plan otherwise satisfies the requirements of Section 1191(b) of the Code.

    TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN THIS
BALLOT ON OR BEFORE JULY 10, 2020 TO:

                                    Clerk, U.S. Bankruptcy Court
                                75 Ted Turner Drive, SW, Room 1340
                                         Atlanta, GA 30303

You must also deliver a copy of the completed, signed ballot to Debtor’s Attorney at: Jones & Walden
LLC, 699 Piedmont Avenue NE, Atlanta, Georgia 30308, Attn: Cameron M. McCord.
The undersigned is a holder of [check one:]
      ___ a secured claim
      ___ an unsecured claim
      ___ other [specify:__________________________________________]

In the amount of $_________________, in Class ______ and hereby:
                                 ______ Accepts         ______ Rejects
                                   Debtor’s Plan of Reorganization

Date: ____________________                    Creditor: _______________________________
                                                      Print or Type Name
                                              Signed: ________________________________
Email address of signing representative:      [If appropriate] as: _______________________
________________________________                      Title
Print name: ______________________            Address: _______________________________
                                                       ________________________________
                                              Phone Number: __________________________
                                              Email Address: __________________________
